                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Harrisonburg Division


    JOHN DOE 4, by and through his next friend,
    NELSON LOPEZ, on behalf of himself and all
    Persons similarly situated,

                   Plaintiffs,
                                                             Case No. 5: 17-cv-00097-EKD/JCH
            v.                                               Judge Elizabeth K. Dillon

    SHENANDOAH VALLEY JUVENILE
    CENTER COMMISSION,

                   Defendant.



                     PLAINTIFS' MEMORANDUM OF LAW IN OPPOSITION
                     TO DEFENDANT'S MOTION FOR PROTECTIVE ORDER


          Plaintiffs John Doe 4, et al., by their attorneys, hereby submit this Memorandum of Law

   in Opposition to the Motion for Protective Order filed by Defendant Shenandoah Valley Juvenile

   Center Commission ("SVJCC") on October 17,2018.         See ECF Docket Nos. 92, 93.


                     INTRODUCTION AND STATEMENT                  OF THE ISSUES

          Plaintiffs commenced this action for declaratory and injunctive relief pursuant to 42

   U.S.C. § 1983 on October 4,2017,    seeking to protect the rights and interests of unaccompanied

   immigrant children ("UACs") detained at the Shenandoah Valley Juvenile Center ("SVJC") from

   a pattern and practice of unlawful conduct to which these children were and are subjected at

   SVJC, including verbal and physical abuse, deprivation of adequate mental health care, and

   inappropriate imposition of solitary confinement in violation of the Fifth and Fourteenth

   Amendments to the U.S. Constitution.    See ECF Docket No.1




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             Although, due to the transient nature of the UAC detainee population at SVJC, changes in

    the identity of the individual named plaintiffs/class representatives have occurred over time,

    necessitating amendments to the pleadings, the substance ofthis action remains the same:

    Plaintiffs seek to bring to an end an ongoing systemic pattern and practice of alleged

    unconstitutional behavior to which detained UACs have been subjected at SVJC that commenced

    prior to the initiation of this case, was continuing as of the date the case was filed and persists

    through the present. See, e.g. Second Amended Class Action Complaint, ~~ 2-3 at 2 (filed July

    11, 2018) (ECF Dkt. No. 68). The specific incidents of excessive use of physical force and

    restraints, imposition of excessive solitary confinement and denial of necessary mental health

    care experienced by UACs detained at SVJC, including prior named Plaintiffs John Does 1,2

    and 3 and current named Plaintiff and class representative John Doe 4, as alleged in the

    pleadings, do not constitute separate claims, seeking recovery for those UACs based upon

    separate instances of compensable harm. Rather, the incidents alleged are offered to support

   Plaintiffs' assertion that the Defendant has engaged in an ongoing pattern and practice of

   unlawful acts and omissions in contravention of settled standards governing the operation of

   juvenile detention facilities and reflecting deliberate indifference to the UACs' constitutional

   rights.

             With this substantive framework as a backdrop, Plaintiffs served the Defendant with their

   First Requests for Admissions on September 17, 2018. See Brief in Support of Defendant's

   Motion for Protective Order ("Prot. Or. Br."), Exhibit 1 (ECF Dkt. No. 93). Plaintiffs seek

   Defendant's acknowledgement of the truth offacts yielded by discovery which Plaintiffs believe

   confirm the correctness of their allegations that UACs detained at SVJC have been subjected to

   disproportionate and punitive measures, including repeated incidents involving extended periods



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    of solitary confinement, overuse of restraints and excessive physical force -- all proper subjects

    for Requests for Admissions.     Defendant served its Responses on October 17, 2018, objecting to

    and declining to answer a significant number of Plaintiffs' Requests based upon assertions of

    lack of relevancy and undue burden. Jd., Exhibit 2. Defendant seeks to vindicate the merits of

    those Objections through its instant Motion for Protective Order, filed concurrently with the

    service of the Responses.    ECF Dkt. No. 92.


                                       GOVERNING STANDARDS

        A. Requests for Admission

            Rule 36, Fed. R. Civ. P., under which Plaintiffs propounded their Requests for

    Admissions to the Defendant, provides, in pertinent part, that

            [a] party may serve on any other
                                        .     party a written request
                                                                .
                                                                      to admit, for purposes of
            the pending action only, the truth of any matters within the scope of Rule 26(b )(1)
            relating to:

                    (A) facts, the application of law to fact, or opinion about either; and

                    (B) the genuineness of any described documents.


    Fed. R. Civ. P. 36(a)(1).   As noted by leading commentators, Rule 36 is, strictly speaking, not a

    discovery device in the sense that the requesting party is seeking another party's admission

   regarding factual matters the requesting party already knows and believes to be true, or regarding

   the authenticity of documents the requesting party already possesses, for the salutary purpose of

   narrowing disputes at trial. See 8B Charles A. Wright, Arthur R. Miller & Richard L. Marcus,

   Federal Practice and Procedure § 2253 at 324-26 (3d ed. 2010).

           For the purposes for which it is intended, Rule 36 is often more effective than
           other discovery rules .... [R]esponses to other discovery procedures are merely
           evidence to be introduced at trial and they are subject to contradiction at the trial.
           An admission, unless it is allowed to be withdrawn, concludes the matter and


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            avoids any need for proof at trial. For ... these reasons, admissions are more
            likely to be fruitful in defining and limiting the controversy than are the other
            devices.

    Id. at 326 (footnotes omitted); accord Erie Ins. Prop. Cas. Co. v. Johnson, 272 F.R.D. 177, 183

    (S.D. W.Va. 2010) (,"Rule 36(a)'s primary purposes are "to facilitate proof with respect to issues

    that cannot be eliminated from the case, and secondly, to narrow the issues by eliminating those

    that can be."'" (quoting Frontier-Kemper Constructors, Inc. v. Elk Run Coal Co., Inc., 246

    F.R.D. 522, 531 (S.D: W.Va. 2007»).

           By expressly allowing a party to request an admission as to the truth of "any matters

    within the scope of Rule 26(b)(1)," Rule 36(a) invokes the same broad scope of relevancy that

    governs the application and enforcement of the other federal discovery rules. 8B Wright, Miller

    & Marcus, supra, § 2254 at 327-28.

    B.     Relevancy

           Rule 26(b)(1), Fed.   R.   Civ. P., which establishes the broad scope of discovery in federal

    civil proceedings, provides as follows:

           [u]nless otherwise limited by court order, ... [p]arties may obtain discovery
           regarding anynonprivileged matter that is relevant to any party's claim or defense
           and proportional to the needs of the case, considering the importance of the issues
           at stake in the action, ... the parties' relative access to relevant information, the
           parties' resources, the importance of the discovery in resolving the issues, and
           whether the burden or expense of the proposed discovery outweighs its likely
           benefit. Information within the scope of discovery need not be admissible in
           evidence to be discoverable.

           Consistent with this facially liberal language, the Fourth Circuit has observed that

   "discovery under the Federal Rules of Civil Procedure is broad in scope and freely permitted."

   CareFirst of Maryland, Inc. v. Carejirst Pregnancy Centers, Inc., 334 F.3d 390, 402 (4th Cir.

   2003) (citation omitted); see also Ralston Purina Co. v. McFarland, 550 F.2d 967, 973 (4th Cir.

    1977) (information that is "germane to the subject matter of the pending action" is discoverable);

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    Silicon Knights, Inc. v. Epic Games, Inc., 917 F. Supp. 2d 503, 533 (E.D.N.C. 2012), aff'd on

    other grounds, 551 F. App'x 646 (4th Cir. 2014).

            Accordingly, "information is relevant, for purposes of discovery and thus discoverable, if

    it 'bears on, or ... reasonably could lead to other matters that bear on, any issue that is or may be

    in the case. ... [T]he general subject matter of the litigation governs the scope of relevant

    information for discovery purposes. '" JAK Productions, Inc. v. Robert Bayer, No.2: 15-cv-

    00361,2015     WL 2452986, at *4 (S:D. W.Va. May 22, 2015) (citations omitted); see also Bell,

    Inc. v. GE Lighting, LLC, No. 6:14-cv-00012, 2014 WL 1630754, at *6 (W.D. Va. April 23,

    2014) ("Discovery under the Federal Rules of Civil Procedure is broad in scope and freely

    permitted" (citations omitted)); Carr v. Double T Diner, 272 F.R.D. 431, 433 (D. Md. 2010);

    Kidwilder v. Progressive Palo verde Ins. Co., 192 F.R.D. 193, 199 (N.D. W.Va. 2000).

            Notably, the presumption in favor of a broad construction of the concept of relevancy

    under the Federal Rules generally is especially strong in the particular context of civil rights

    litigation. Floren v. Whittington, 217 F.R.D.389, 391 (S.D. W.Va. 2003) (recognizing and

   giving full effect to "the important federal interests in broad discovery and truth seeking as well

   as the interest in vindicating important federal substantive policy such as that embodied in [42

   U.S.C.   §] 1983" (citations omitted); accord Spell v. McDaniel, 591 F. Supp. 1090, 1114-15

   (E.D.N.C.     1984); see generally Cox v. McClellan, 174 F.R.D. 32, 34 (W.D.N.Y. 1997)

   ("[A]ctions alleging violations of § 1983 require especially generous discovery." (citing Inmates

   of Unit 14 v. Rebideau, 102 F.R.D. 122, 124 (N.D.N.Y. 1984) ("[fJederal policy favors discovery

   in civil rights actions"))).




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    C.        Undue Burden

              In order to avoid compliance with discovery otherwise within the broad scope of

    relevancy contemplated by Rule 26(b)( 1), as elaborated above, on the basis of a claim of undue

    burden,

              the objecting party must do more to carry its burden than make conclusory and
              unsubstantiated arguments. Convertino v. United States Department of Justice,
              565 F. Supp. 2d 10, 14 (D.D.C. 2008) (the court will only consider an unduly
              burdensome objection when the objecting party demonstrates how discovery is
              over broad, burdensome, and oppressive by submitting affidavits or other
              evidence revealing the nature of the burden); Cory v. Aztec Steel Building, Inc.,
              225 F.R.D. 667, 672 (D. Kan. 2005) (the party opposing discovery on the ground
              of burdensome ness must submit detailed facts regarding the anticipated time and
              expense involved in responding to the discovery which justifies the objection);
              Bank of Mongolia v. M&P Global Financial Servs., Inc., 258 F.R.D. 514,519
              (S.D. Fla. 2009) ("A party objecting must explain the specific and particular way
              in which a request is vague, overly broad or unduly burdensome. In addition,
              claims of undue burden should be supported by a statement (generally an
              affidavit) with specific information demonstrating how the request is overly
              burdensome" (citations orriittedj),

   lAK Productions, 2015 WL 2452986, at *10; see generally Consolidation Coal Co. v. Williams,

   453 F. 3d 609,620-21      (4th Cir. 2006) (affirming grant of motion to compel where the resisting

   party "failed to offer anything more than conclusory assertions regarding the potentially

   burdensome aspect of the discovery request").

              Here, in seeking a Protective Order, Defendant has failed to even contend, much less

   show, that Plaintiffs' Requests for Admissions to which it objects are somehow inconsistent with

   the purposes for which admissions may be sought pursuant to Rule 36(a).       Nor has Defendant

   established that the matters' as to which Plaintiffs seek admissions do not "bear on" issues

   presented in the case or concern "the general subject matter of the litigation." Finally, Defendant

   has offered nothing but wholly conclusory and unsupported assertions as a basis for its




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    contention that having to respond to Plaintiffs' Requests would impose an undue burden.      For all

    of these reasons, elaborated more fully below, the Motion for Protective Order must be denied.


                                               ARGUMENT

    I.     DEFENDANT'S EFFORT TO LIMIT THE SCOPE OF DISCOVERY BASED
           UPON THE DEFINITION OF THE CERTIFIED CLASS IS COMPLETELY
           LACKING IN LEGAL BASIS


           The linchpin of Defendant's Motion for Protective Order is its wholly baseless

    assumption that the scope of the class certified by this Court in its Order dated June 27, 2018--

   see ECF Dkt. No. 63 -- somehow defines the scope of permissible discovery in this action under

    Rule 26(b)(1), Fed. R. Civ. P. Defendant's position is obviously incorrect. The definition of the

    certified class identifies the category of persons who will benefit from such declaratory and

   'injunctive relief as the Court may ultimately order; however, it is the respective claims and

   defenses of the parties that are determinative of the proper scope of discovery.

           Defendant complains that although "[a]s of June 27, 2018, the certified class consisted of

   20 UACs under SVJC's care ... the scope of Plaintiffs' First Requests for Admissions includes

   238 UACs." Prot. Or. Br. at 4. This serves as the springboard for its assertion that "the plain

   language of this Court's Order certifying the class that UACs formerly housed at SVJC are not
                                         ,          ;   ,
   class members ....   Requests for admissions regarding the treatment of past residents at SVJC are

   irrelevant to the claims alleged by class members, particularly in light of changes to SVJC

   policies which predate this litigation." ld. at 4-5.

           Defendant's argument reflects either a conscious disregard for or a fundamental

   misunderstanding ofthe nature and substance of Plaintiffs' causes of action and claims for relief

   in this case. As described above, Plaintiffs contend that the Defendant has engaged and

   continues to engage in an ongoing pattern and practice of mistreatment ofUACs at SVJC,
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    characterized by, inter alia, use of excessive physical force and restraints, improper imposition

    of solitary confinement and denial of adequate mental health care to traumatized children in

    desperate need of such care. For purposes of proving the existence -- and persistence -- of the

    pattern and practice of wrongful conduct alleged, particular past instances in which UACs were

    subjected to and victimized by the alleged conduct are plainly relevant, without regard to

    whether or not the subject UAC is still detained at SVJC.

            Defendant has offered no persuasive authority to support its proclamation that "[i]t is

    axiomatic that only information pertaining to class members is relevant to adjudicating a class

    action" Prot. Or. Br. at 5. Defendant cites a single district court decision as the basis for this

    proposition -- see Harris v. Koenig, 271 F.R.D. 356, 373 (D.D.C. 2010) -- but the Harris case

    reflects no such ruling. In reality, the Magistrate Judge's ruling in Harris did nothing more than

   reinforce a previous determination by the presiding district judge concerning temporal

    limitations on the permissible scope of discovery in that case by sustaining a party's objection to
                            .   .      .
   requests for admissions addressing matters outside the relevant time period. See 271 F.R.D. at

   373; cf id. at 364 (referencing district judge's earlier ruling that "limited the scope of discovery

   to the actions or omissions ofSSBT in its approval of the two settlements," thereby rendering

   "[e]vents and occurrences that happened before the starting date of the first period, July 1, 1990

    ... irrelevant"). Harris says nothing whatsoever about limiting the scope of discovery in a class

   action solely to "information pertaining to [current] class members." Defendant's assertion to

   the contrary is false.

           By contrast, Plaintiffs' counsel provided Defendant with pertinent authority affording a

   clear analogy to the situation presented in the instant case when Defendant first raised its

   objection to the scope of the discovery pursued by Plaintiffs on the grounds that evidence



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    concerning the experiences ofUACs who no longer reside at SVJC were "not relevant." Thus,

    in Scott v. Clarke, 64 F. Supp. 3d 813 (W.D. Va. 2014), an Eighth Amendment class action

    seeking declaratory and injunctive relief brought on behalf of the population of women

    incarcerated at a Virginia state correctional facility with respect to constitutionally-deficient

    medical care, the Court (Moon; Sf. J.) addressed and rej ected the Department of Corrections'

    argument that the plaintiffs could not rely upon incidents of inadequate care that occurred more

    than one year before the case was filed to prove a pattern and practice, because claims based on

    such incidents were barred by the statute of limitations. The Court ruled, in pertinent part, as

    follows:

           A merely cursory review of the second amended complaint (or any of the
           complaints) reveals that Plaintiffs brought suit to terminate an ongoing systemic
           pattern and practice of failure to provide constitutionally adequate medical care
           on the part of the VDOC and its contractual providers. Plaintiffs allege that the
           unlawful conduct was continuing as of the date the lawsuit was filed, and that it
           continues as of today.

                                          *               *               *
           Here, each of the named plaintiffs has identified a continuing sequence of
           instances in which she alleges she has experienced sub-standard medical care at
           FCCW, reflecting an ongoing pattern of deliberate indifference to serious medical
           needs for which the Plaintiffs seek to hold the VDOC liable. For each Plaintiff, at
           least one of the instances alleged occurred within one year of the commencement
           of this lawsuit on July 24,2012. Under these circumstances, Plaintiffs are
           permitted to support their timely claim with evidence of earlier examples of
           deficient medical care occurring more than one year before the date on which this
           case was filed. See, e.g., Brinkley-Obu v. Hughes Training, Inc., 36 F.3d 336,346
           (4th Cir. 1994) ("statutes oflimitations do not operate as an evidentiary bar
           controlling the evidence admissible at trial of a timely-filed cause of action.");
           Furr v. AT&T Techs., Inc., 824 F.2d 1537, 1543 (loth Cir. 1987)
           ("[ d]iscriminatory acts occurring before the filing periods are relevant evidence of
           the continuing.unlawful practice and its discriminatory intent, and are used by the
           courts to fashion aremedy" (citations omitted)).

   64 F. Supp. 3d at 826-28.




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            While the Scott ruling is, admittedly, not on the proverbial "all fours" with the issue

    presented by Defendant's argument, Plaintiffs submit that the parallel between the evidence of

    incidents that would be time-barred if the basis for individual claims, but which may nonetheless

    be freely utilized to show a pattern of wrongful conduct in Scott, and the evidence of incidents

    involving former SVJC detainees to prove a pattern of wrongful conduct here, is compelling,

    especially where Defendant has offered no authority actually to the contrary. See also Floren v.

    Whittingon, 217 F.R.D. at 391-92 (in case involving claim by individual plaintiff that

    policeman's wrongful entry upon plaintiffs property and wrongful arrest of plaintiff was an

    element of a pattern and practice of unconstitutional conduct on the part of the City of Dunbar,

    WV police force for which City officials bore direct supervisory liability, court granted a motion

    to compel ordering the production of the personnel and internal affairs files of all of the City'S

    police officers except for the files of non-defendant officers never subjected to any citizen

    complaints, internal investigations or disciplinary actions); Spell v. McDaniel, 591 F. Supp. at

    1113-15 (in Section 1983 action premised upon allegations that policeman's physical assault of

    plaintiff while in custody following arrest for driving while intoxicated was part of a pattern and

    practice of police brutality in City of Fayetteville, NC, court granted a motion to compel ordering

    production of "(1) records of complaints, investigations and reports concerning the incident at
                                       ;   ,

    bar and [the defendant's] conduct while a member of the Fayetteville Police Department; (2)

    records of complaints filed, investigations conducted and reports written for internal and external

    use [concerning] allegations of abuse and unreasonable force within the Fayetteville Police

    Department since January 1, 1981; and (3) regulations, directives, manuals, official

    administrative reports and other documents produced by or for the Police Department and used

    by it to communicate departmental policies or rules of law to officers regarding the use of force."



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    (Footnotes omitted.)). The.logical implication of Defendant's position is that an unconstitutional

    pattern and practice could never be proven by an individual civil rights plaintiff, because any

    similar acts or omissions on the part of the defendant involving someone other than the plaintiff

    him- or herself would not be discoverable, on relevancy grounds. Plainly, that is not the law.

            "The burden is on the party resisting discovery to explain specifically why its objections,

    including those based on irrelevance, are proper given the broad and liberal construction of

    federal discovery rules." Desrosiers v. MAG Indus. Automation Sys. LLC, 675 F. Supp. 2d 598,

    601 (D. Md. 2009); accord Silicon Knights, 917 F. Supp. 2d at 534; Marfork Coal Co. v, Smith,

    274 F.R.D. 193,204 (S.D. W.Va. 2011). With respect to evidence concerning alleged unlawful

    acts on the pari of the Defendant in which the victims were UACs who are no longer detained at

    SVJC but whose treatment reflects the Defendant's ongoing practices, Defendant has not met

    and cannot, as a matter of law, meet this burden.


    II.     THE PURPORTED CHANGE IN SVJC'S BEHAVIOR MANAGEMENT POLICY
            DOES NOT RENDER EVIDENCE OF PRE-MODIFICATION INCIDENTS
            IRRELEVANT

            Defendant asserts that a change in the written policy that purportedly governs the manner

    in which the conduct ofUACs detained at SVJC is monitored and regulated somehow justifies

    limiting the scope of matters as to which Plaintiffs may seek admissions. In this regard,

    Defendant states:

            In August 2016, a new behavioral management program was implemented at
            SVJC. Under the new-policy, SVJC has shifted away from a discipline-based
            program and moved towards an incentive-based program to promote good
            behavior. In particular, the new behavioral management program does not
            include prescribed periods of room confinement for behavioral infractions and
            focuses instead on reducing room confinement and returning residents to normal
            programming as soon as possible.

    Prot. Or. Br. at 6-7 (citations omitted).


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            Based on this explanation, Defendant takes the position that Requests for Admissions

    propounded by Plaintiffs that focus on calculations of the duration of room confinement in

    particular instances that occurred before August 2016 "are irrelevant and constitute an undue

    burden to the extent they require SVJC to make admissions concerning policies that have never

    been applied to current class members." Jd. at 7.

            Defendant's analysis is simplistic and, more importantly, flatly wrong. Again, Plaintiffs

    have alleged and will seek to prove at trial that Defendant has, inter alia, engaged in an

    unconstitutional pattern and practice of subjecting UACs to excessive solitary confinement (i.e.,

    "room confinement" in the Defendant's parlance) that was in effect at the time the lawsuit was

    commenced and continues in effect up to the present. If anything, comparative evidence that

    reveals that notwithstanding the modification of SVJC's behavior management program in

    August 2016 as touted by Defendant, the same sort of incidents of protracted solitary

    confinement are occurring that occurred prior to the change would constitute a powerful showing

    of Defendant's deliberate indifference to the seriously harmful effects that such confinement has

    on the mental health of traumatized children. For this obvious reason, the admissions sought by

    Plaintiffs regarding pre-modification solitary confinement concern an important element of

    Plaintiffs' case and are plainly relevant. Defendant has not even remotely met its burden to show

    otherwise. I




            The same analysis applies with respect to Plaintiffs' claims of excessive use of restraints
    and excessive physical force predating as well as postdating Defendant's modification of its
    behavior management program. The admissions sought by Plaintiffs regarding all such matters
    are entirely appropriate.
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    III.        DEFENDANT'S CONCLUSORY              ASSERTIONS         OF UNDUE BURDEN CANNOT
                BE SUSTAINED

                Although Defendant asserts that "[t]he scope of Plaintiffs' First Requests for Admissions

    will require SVJC to devote a prohibitive amount of time and resources to formulate accurate

    responses to many of the 245 requests" (Prot. Or. Br. at 7), no specific showing, by affidavit or

    other evidence, has been provided to support this conclusory statement. Under applicable law, as

    reviewed above, Defendant's bald contention that Plaintiffs' Requests are unduly burdensome

    cannot carry the day. Consolidation Coal, 453 F. 3d at 620-21; JAK Productions, 2015 WL

    2452986, at *10 (citing numerous authorities). Accordingly, Defendant's attempt to secure a

    Protective Order based upon an unsubstantiated claim of undue burden must necessarily be

    rejected.


                                                CONCLUSION

            For all the foregoing reasons, Defendant's Motion for Protective order must be denied.

    DATED: October 31, 2018
                                             Respectfully submitted,

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                                      CERTIFICATE         OF SERVICE

           I hereby certify that on this 31 st day of October, 2018, true and correct copies of

    Plaintiffs' Memorandum of Law in Opposition to Defendant's Motion for Protective Order was

    served via electronic mail upon the following:

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